       Case 4:22-cv-00029-RCC Document 1 Filed 01/21/22 Page 1 of 5




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 7
     Attorneys for Defendant, Specialized Loan Servicing,
 8
                               UNITED STATES DISTRICT COURT
 9                                 DISTRICT OF ARIZONA
10
     ROSE A. KARAM,                               Case No.:
11
                  Plaintiff,                      NOTICE OF REMOVAL
12

13         vs.
                                                  [Removal from Superior Court of
14   SPECIALIZED LOAN SERVICING,                  Arizona, County of Pima, Case No.
15
     LLC                                          C20215788]

16                Defendant.
17

18           PLEASE TAKE NOTICE that Defendant Specialized Loan Servicing, LLC
19   (“SLS”) hereby removes this action from Superior Court of Arizona in Pima County,
20   Arizona to the United States District Court for the District of Arizona, pursuant to 28
21   U.S.C. §§ 1332, 1441 and 1446. The grounds for removal are as follows:
22           I.   Statutory and Procedural Requirements
23           1.   On December 9, 2021 Plaintiff Rose A. Karam (“Plaintiff”) filed a
24                complaint in the Superior Court of Arizona in Pima County (Case No.
25                C2021-5788) against Defendant (the “Complaint”).
26           2.   A true and correct copy of the Complaint is attached hereto as Exhibit A.
27           3.   Removal of this action is authorized by 28 U.S.C. § 1441.
28   ///

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                                     NOTICE OF REMOVAL
     Case 4:22-cv-00029-RCC Document 1 Filed 01/21/22 Page 2 of 5




 1      4.    This Notice of Removal is, upon information and belief, timely filed as it is
 2            filed within thirty (30) days after Defendant received service of a copy of
 3            the Summons and Complaint upon which removal is based. See 28 U.S.C.
 4            § 1446(b).
 5      5.    After the filing of this Notice of Removal, Defendants will promptly give
 6            written notice of this removal with the Clerk of the State Court in which the
 7            action is currently pending and to all adverse parties pursuant to 20 U.S.C.
 8            § 1446(d).
 9      6.    Pursuant to LR 3.6, legible copies of all records and proceedings from the
10            state court action that Defendants are aware of are attached as Exhibit A.
11      7.    This Notice of Removal is filed subject to and with full reservation of rights.
12            No admission of fact, law or liability is intended by this Notice of Removal,
13            and all defenses, motions and pleas are expressly reserved.
14      II.   Diversity Jurisdiction
15      8.    SLS removes this case pursuant to 28 U.S.C. § 1441(b) and 28 U.S.C. §
16            1332 based on diversity of citizenship of the Parties.
17      9.    Plaintiff is a resident of Arizona based on her own admission in the
18            Complaint.
19      10.   SLS is a limited liability company which is formed in Delaware and has its
20            principal office in Greenwood Village, Colorado. The citizenship of a
21            limited liability company for diversity jurisdiction is the citizenship of its
22            members. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894,
23            899 (9th Cir. 2006). The sole member of SLS is Specialized Loan Servicing
24            Holdings LLC, who is formed under the laws of the state of Delaware and
25            whose principal place of business is in Colorado. The sole member of
26            Specialized Loan Servicing Holdings LLC is Computershare Mortgage
27            Services LLC d/b/a Computershare Loan Services, who is formed under the
28            laws of the state of Delaware. The sole member of Computershare Mortgage

                                          2
                                 NOTICE OF REMOVAL
       Case 4:22-cv-00029-RCC Document 1 Filed 01/21/22 Page 3 of 5




 1               Services LLC d/b/a Computershare Loan Services LLC is Computershare
 2               US Investments LLC, who is formed under the laws of the state of Delaware.
 3               The sole member of Computershare US Investments LLC is Computershare
 4               Holdings, Inc., who is formed under the laws of the state of Delaware and
 5               whose principal place of business is in Illinois. The citizenship of a
 6               corporation for diversity jurisdiction is where its “nerve center” is located.
 7               See Hertz Corp. v. Friend, 559 U.S. 77 (2010). Accordingly, SLS and its
 8               parent companies are citizens of Delaware, Colorado, and Illinois for
 9               purposes of diversity.
10         11.   $75,000.00 is the threshold amount associated with diversity jurisdiction.
11               28 U.S.C. § 1332(a).
12         12.   The amount in controversy is determined from the allegations or prayer for
13               relief. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289
14               (1938).   Here, the Complaint seeks punitive damages, compensatory
15               damages and damages based on emotional distress. In addition, Plaintiff
16               seeks to enjoin the sale of the subject property, prevent SLS from exercising
17               relief permitted by the loan documents, amongst other relief. As Plaintiff
18               seeks relief of the subject property and loan, the amount in controversy may
19               be determined by the value of the object of the litigation, i.e., the loan
20               amount, or the potential lost equity. Hunt v. Wash. State Apple Adver.
21               Comm’n, 432 U.S. 333 (1997); see also Brady v. Mercedes-Benz USA, Inc.,
22               243 F.Supp.2d 1004 (N.D. Cal., 2002); Munger v. Moore, 11 Cal.App.3d 1
23               (1970). Given the monetary damages sought in the complaint, including
24               emotional damages, compensatory damages and request for injunctive and
25               declaratory relief, Plaintiff hereby alleges upon information and belief that
26               the amount in controversy is greater than $75,000.
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                                    NOTICE OF REMOVAL
     Case 4:22-cv-00029-RCC Document 1 Filed 01/21/22 Page 4 of 5




 1      III.     Venue
 2      13. Pursuant to 28 U.S.C. § 1441(a) the United States District Court for the District
 3            of Arizona is the proper venue for removal because it is the judicial district and
 4            division in which the State Court Action is pending.
 5      IV.      Status of Co-Defendants
 6      V.       SLS is the sole defendant.
 7      WHEREFORE, Defendant prays that the above action be removed to this Court.
 8
                                              Respectfully submitted by:
 9
                                              HOUSER LLP
10
                                              /s/ Solomon S. Krotzer
11                                            Robert W. Norman, Jr.
12                                            Solomon S. Krotzer
                                              Attorney for Defendant, Specialized Loan
13                                            Servicing, LLC
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                                     NOTICE OF REMOVAL
       Case 4:22-cv-00029-RCC Document 1 Filed 01/21/22 Page 5 of 5




 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on January 21, 2022, a true copy of the foregoing was filed
 3   with the Court’s electronic filing system and served e-mail and via U.S. First Class Mail
 4   to the following:
 5

 6
            Rose A. Karam
            3501 N. Camino Esplanade
 7          Tucson, AZ 85750
            rosekaram@protonmail.com
 8

 9
            /s/ Solomon S. Krotzer
10          Solomon S. Krotzer

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